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  1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
        A Limited Liability Partnership
  2     Including Professional Corporations
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    San Francisco, California 94111-4109
  4 Telephone:    415.434.9100
    Facsimile:    415.434.3947
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    Facsimile: 213.620.1398
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                  alattner@sheppardmullin.com
 10
    Proposed Counsel to the Official Committee of
 11 Unsecured Creditors

 12                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 13                                    SANTA ANA DIVISION

 14 In re:                                              Case No.: 8:22-bk-10948-SC

 15 TRX HOLDCO, LLC, a Delaware limited
    liability company,
 16                                                     Chapter 11 Case
                Debtor and Debtor in Possession.
 17                                                     NOTICE OF APPEARANCE AND
                                                        REQUEST FOR SPECIAL NOTICE BY
 18 In re:                                              SHEPPARD, MULLIN, RICHTER &
                                                        HAMPTON LLP ON BEHALF OF THE
 19 FITNESS ANYWHERE LLC, a Delaware                    OFFICIAL COMMITTEE OF
    limited liability company, dba TRX and TRX          UNSECURED CREDITORS
 20 Training,
                                                        [No Hearing Requested]
 21                Debtor and Debtor in Possession.
 22
      ☒ Affects both Debtors
 23
      ☐ Affects TRX Holdco, LLC only
 24
      ☐ Affects Fitness Anywhere, LLC only
 25

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      SMRH:4875-7617-9495                             NOTICE OF APPEARANCE AND REQUEST FOR SPECIAL NOTICE
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  1           TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES

  2 BANKRUPTCY JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE;

  3 COUNSEL TO THE DEBTORS, AND OTHER INTERESTED PARTIES:

  4           PLEASE TAKE NOTICE that Sheppard Mullin Richter & Hampton LLP, proposed

  5 counsel to the Official Committee of Unsecured Creditors (the “Committee”) appointed in the

  6 above-captioned bankruptcy case (the “Case”), hereby appears on behalf of the Committee and

  7 requests that all notices given or required to be given in this case whether given by the Court, TRX

  8 Holdco, LLC or Fitness Anywhere LLC, the debtors in possession in these chapter 11 cases

  9 (jointly, the “Debtors”), or any other party, and all pleadings or other papers served or required to

 10 be served in connection with any such matter, be served on proposed counsel for the Committee at

 11 the following addresses:

 12                    Sheppard, Mullin, Richter & Hampton LLP
                       Four Embarcadero Center, 17th Floor
 13                    San Francisco, CA 94111
                       Attn:      Ori Katz, Esq. .
 14                    Phone:     (415) 434-9100
                       Facsimile: (415) 434-3947
 15                    Email:     okatz@sheppardmullin.com

 16                    Sheppard, Mullin, Richter & Hampton LLP
                       333 South Hope Street, 43rd Floor
 17                    Los Angeles, CA 90071
                       Attn:     Jennifer Nassiri, Esq.
 18                              Alexandria G. Lattner, Esq.
                       Phone:    (213) 620-1780
 19                    Facsimile (213) 620-1398
                       Email:    jnassiri@sheppardmullin.com
 20                              alattner@sheppardmullin.com

 21           In addition, pursuant to Bankruptcy Rule 2002(g), the Committee requests that the

 22 foregoing names and address be added to the Court’s master mailing list.

 23           PLEASE TAKE FURTHER NOTICE, that neither this Notice of Appearance and

 24 Request for Special Notice (the “Notice”), nor any other appearances, pleadings, proofs of claim,

 25 claims, or suits filed by the Committee shall constitute a waiver of (i) the right to have final orders

 26 in non-core matters entered only after de novo review by a United States District Court Judge,

 27 (ii) the right to trial by jury in any case, controversy or proceeding, (iii) the right to have the

 28 United States District Court withdraw the reference in any matter subject to mandatory or

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  1 discretionary withdrawal, (iv) any objection to the jurisdiction of this Bankruptcy Court for any

  2 purpose other than with respect to this Notice, (v) an election of remedy, or (vi) any other rights,

  3 claims, actions, defenses, setoffs or recoupments as appropriate, in law or in equity, under any

  4 agreements, all of which right, claims, actions, defenses, setoffs and recoupments are expressly

  5 reserved.

  6           The Committee expressly reserves and preserves all such rights without exception and with

  7 no purpose of confessing or conceding the jurisdiction or venue of the Court or venue of the case

  8 in any way by this filing.

  9 Dated: June 29, 2022

 10                                       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 11

 12                                       By                      /s/ Jennifer Nassiri
                                                                       ORI KATZ
 13
                                                                 JENNIFER NASSIRI
 14                                                           ALEXANDRIA LATTNER
                                                     [Proposed] Attorneys for Official Committee of
 15                                                               Unsecured Creditors
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                            PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
address is 333 South Hope Street, 43rd Floor Los Angeles, CA 90071

A true and correct copy of the foregoing document entitled (specify): NOTICE OF APPEARANCE AND
REQUEST FOR SPECIAL NOTICE will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
hyperlink to the document. On (date) June 29, 2022, I checked the CM/ECF docket for this bankruptcy case
or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
to receive NEF transmission at the email addresses stated below:

            Ron Bender rb@lnbyb.com
            Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
            Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
            Jonathan Gottlieb jdg@lnbyg.com
            Michael J Hauser on behalf of U.S. Trustee United States Trustee (SA)
             michael.hauser@usdoj.gov
            Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
            Krikor J Meshefejian kjm@lnbyg.com
            Ali M Mojdehi amojdehi@btlaw.com,
             jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
            Christopher O Rivas crivas@reedsmith.com
            Lindsey L Smith lls@lnbyg.com,
            United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                            Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) __________, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.

                                                            Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (June
29, 2022), I served the following persons and/or entities by personal delivery, overnight mail service, or (for
those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
be completed no later than 24 hours after the document is filed.

SERVED BY OVERNIGHT MAIL

Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

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                                                                                 F 9013-3.1. PROOF. SERVICE
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                                                           Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct.

  June 29, 2022                 Alexandria G. Lattner                   /s/ Alexandria G. Lattner
  Date                          Printed Name                            Signature




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                                                                               F 9013-3.1. PROOF. SERVICE
